     Case 2:18-cv-04959-JFW-AGR Document 1 Filed 06/04/18 Page 1 of 6 Page ID #:1




 1   G. Thomas Martin, III, Esq. (SBN 218456)
     Nicholas J. Bontrager, Esq. (SBN 252114)
 2   MARTIN & BONTRAGER, APC
 3   6464 W. Sunset Blvd, Suite 960
     Los Angeles, CA 90028
 4
     Telephone: 323.940.1700
 5   Facsimile: 323.328.8095
 6   tom@mblawapc.com
     nick@mblawapc.com
 7
 8   Attorneys for Plaintiff
 9
10
                                 UNITED STATES DISTRICT COURT

11       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12
13   OREOFE ONIFADE,                                    Case No.: 2:18-cv-4959

14                      Plaintiff,
                                                        COMPLAINT AND DEMAND FOR
15            vs.                                       JURY TRIAL
16
17   BANK OF AMERICA, NATIONAL
     ASSOCIATION,
18
                        Defendant(s).
19
20
                                               INTRODUCTION
21
              1.        OREOFE ONIFADE (Plaintiff), through her attorneys, brings this
22
     action        to   secure       redress   from   BANK    OF   AMERICA,      NATIONAL
23
     ASSOCIATION (Defendant) for violations of the Electronic Fund Transfer Act,
24
     15 U.S.C. 1693 et seq. (“EFTA”).
25
              2.        Plaintiff brings this Complaint for damages, injunctive relief, and any
26
     other available legal or equitable remedies, resulting from the illegal actions of
27
     Defendant in failing to perform a reasonably diligent investigation into Plaintiff’s
28
     disputes concerning her personal banking account with Defendant as it pertained
                                                       -1-

                                                                        COMPLAINT FOR DAMAGES
     Case 2:18-cv-04959-JFW-AGR Document 1 Filed 06/04/18 Page 2 of 6 Page ID #:2




 1   to a failure of Defendant in transferring a sum of money into Plaintiff’s London
 2   based account. Plaintiff alleges as follows upon personal knowledge as to herself
 3   and her own acts and experiences, and, as to all other matters, upon information
 4   and belief, including investigation conducted by her attorneys.
 5                             JURISDICTION AND VENUE
 6          3.     This Court has jurisdiction under 28 U.S.C. 1331, because this action
 7   is brought pursuant to the EFTA, 15 U.S.C. 1693 et seq.
 8          4.     Jurisdiction of this Court arises pursuant to 15 U.S.C. 1693(m), which
 9   states that, “without regard to the amount in controversy, any action under this
10   section may be brought in any United States district court.”
11          5.     Venue and personal jurisdiction in this District are proper pursuant to
12   28 U.S.C. 1391(b) because Defendant, a corporation, maintains a business offices
13   throughout California and does or transacts business within this District and
14   Plaintiff resides within this district.
15          6.     Plaintiff is a natural person residing in Los Angeles County, State of
16   California.
17          7.     Defendant is a corporation with its State of Incorporation being
18   Delaware.
19                               FACTUAL ALLEGATIONS
20          8.     On or about December 2017, Plaintiff, who is currently an
21   international student at UCLA, opened a personal banking account with Defendant
22   with the local branch being located in Westwood, California.
23          9.     On April 9, 2018, while visiting her son in London, Plaintiff initiated
24   an electronic transfer of funds in her account with Defendant to her other personal
25   banking account located in London – where her son is currently attending boarding
26   school.
27          10.    The electronic transfer was in the sum of approximately $3,000.00,
28   was going to be used solely for the purpose of paying Plaintiff’s son’s boarding

                                                -2-

                                                                    COMPLAINT FOR DAMAGES
     Case 2:18-cv-04959-JFW-AGR Document 1 Filed 06/04/18 Page 3 of 6 Page ID #:3




 1   school tuition. However, as of April 12, 2017, while the funds were no longer in
 2   Plaintiff’s Bank of America account, said funds had not been transferred to her
 3   London based account to pay the tuition.
 4         11.    Plaintiff then called Defendant to report the issue, disputed the failure
 5   to transfer, and demanded that her funds be immediately transferred to her London
 6   based account so that she can pay her son’s tuition. Defendant did not immediately
 7   remedy the issue and simply advised Plaintiff to continue to way longer.
 8         12.    Three more days passed, now April 15, 2017, and Plaintiff’s funds
 9   were still no transferred nor were the funds in her Bank of America account.
10   Plaintiff once again called to report the error, reported her dispute, and demanded
11   that Defendant remedy the situation. Defendant did not remedy the situation and
12   again told Plaintiff to simply wait longer.
13         13.    As a direct result of this delay in the completed transfer of funds, and
14   with Plaintiff’s son’s boarding school advising that funds were due immediately,
15   Plaintiff was forced to borrow this sum in order to ensure that her son’s tuition was
16   paid, much to the embarrassment of Plaintiff in having to do so.
17         14.    On April 19, 2018, upon her return back to Los Angeles, Plaintiff
18   visited her local branch in-person, to directly discuss the failure to transfer her
19   funds – as Plaintiff still did not have her funds in either her Bank of America
20   account or her London based account. The branch manager made a few phone calls
21   in front of Plaintiff, advised that nothing more could be done by the branch, and
22   advised that Defendant would call her.              However, no such call or written
23   correspondence was ever received by Plaintiff regarding this error.
24         15.    As of today, June 4, 2018, Defendant has failed to either refund
25   Plaintiff her funds back or successfully transfer the funds to Plaintiff’s London
26   account. Thus, it has been nearly ninety (90) days that Plaintiff has been without
27   her nearly $3,000.00 and further now owes a friend that same sum as she had to
28

                                                   -3-

                                                                     COMPLAINT FOR DAMAGES
     Case 2:18-cv-04959-JFW-AGR Document 1 Filed 06/04/18 Page 4 of 6 Page ID #:4




 1   borrow that money to keep her son in school. Thus, Defendant’s errors has now
 2   cost Plaintiff nearly $6,000.00 in monetary fund alone.
 3         16.    In sum, Plaintiff has spent countless hours making phone calls and
 4   sending emails to various of Defendant’s employees seeking an explanation and/or
 5   remedy to this issue. Plaintiff has never received any such explanation and Plaintiff
 6   still does not have her transferred funds in either bank account.
 7         17.    Defendant’s alleged “investigation” into Plaintiff’s dispute was
 8   clearly inadequate, not reasonable, not diligent, and failed to properly address
 9   Plaintiff’s issues regarding her $3,000.00 transfer.
10         18.    Further evidencing Defendant’s woefully inadequate investigation is
11   the fact that Defendant has access to both Plaintiff’s personal bank account.
12   Defendant could have reasonably, easily and swiftly confirmed the $3,000.00 never
13   occurred and simply refunded/credited the funds over to Plaintiff’s personal bank
14   account.
15         19.    Instead, Defendant failed to investigate properly, failed to
16   credit/refund or to conduct any further review/investigation, even after Plaintiff
17   made numerous attempts to inform Defendant of its mistake in its resolution (or
18   lack thereof) of the dispute.
19         20.    What is more, not only is Plaintiff still without the benefit of her
20   $3,000.00 refund, but Defendant’s actions and reversal of the credit has resulted in
21   Plaintiff being unable to pay household bills and expenses and has resulted in
22   Plaintiff needed to seek temporary residence at a friend’s home as opposed to
23   securing a lease to rent an apartment, all of which are a direct result of Defendant’s
24   failure to properly handle and resolve her dispute.
25
26
27
28

                                                -4-

                                                                   COMPLAINT FOR DAMAGES
     Case 2:18-cv-04959-JFW-AGR Document 1 Filed 06/04/18 Page 5 of 6 Page ID #:5




 1                                         COUNT I:
 2      DEFENDANT VIOLATED THE ELECTRONIC FUNDS TRANSFER
 3                                            ACT
 4          21.    15 U.S.C. §1693f(a)(3), provides that if a consumer notifies a financial
 5   institution of an “error” related to an electronic fund transfer within sixty (60) days
 6   of said error, “the financial institution shall investigate the alleged error, determine
 7   whether an error has occurred, and report or mail the results of such investigation
 8   and determination to the consumer within ten business days.”
 9          22.    Pursuant to 15 U.S.C. §1693f(f)(2), an “error” as described above
10   includes an incorrect electronic fund transfer from or to the consumer’s account.
11          23.    Pursuant to 15 U.S.C. §1693(e), a financial institution is not only
12   liable under §1693m, but is subject to treble damages, should the Court find that:
13   (1) the financial institution did not provisionally recredit a consumer’s account
14   within the ten-day period specified in subsection (c), and the financial institution
15   (A) did not make a good faith investigation of the alleged error, or (B) did not have
16   a reasonable basis for believing that the consumer’s account was not in error; or (2)
17   the financial institution knowingly and willfully concluded that the consumer’s
18   account was not in error when such conclusion could not reasonably have been
19   drawn from the evidence available to the financial institution at the time of its
20   investigation.
21          24.    Based upon the foregoing, Defendant failed to make a good faith
22   investigation into the error regarding Plaintiff’s account, did not have a reasonable
23   basis for believing that Plaintiff’s account was not in error and/or knowingly and
24   willfully concluded that Plaintiff’s account was not in error when such a conclusion
25   could not reasonable have been drawn from the evidence available to the financial
26   institution at the time of its investigation.
27
28

                                                     -5-

                                                                     COMPLAINT FOR DAMAGES
     Case 2:18-cv-04959-JFW-AGR Document 1 Filed 06/04/18 Page 6 of 6 Page ID #:6




 1                                PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff, OREOFE ONIFADE respectfully requests
 3   judgment be entered against Defendant, BANK OF AMERICA, NATIONAL
 4   ASSOCIATION, for the following:
 5         25.    Statutory damages of $1,000.00 per 15 U.S.C. §1693m;
 6         26.    Actual damages per 15 U.S.C. § 1693m;
 7         27.    Costs and reasonable attorneys’ fees per 15 U.S.C. § 1693m;
 8         28.    Treble Damages;
 9         29.    For prejudgment interest at the legal rate; and
10         30.    Any other relief this Honorable Court deems appropriate.
11
12
                                      TRIAL BY JURY
13
           Pursuant to the seventh amendment to the Constitution of the United States
14
     of America, Plaintiff is entitled to, and demands, a trial by jury
15
16
17
                                             RESPECTFULLY SUBMITTED,
18
     Dated: June 4, 2018                     MARTIN & BONTRAGER, APC
19
20
                                             By: /s/ Nicholas J. Bontrager
21
                                                      Nicholas J. Bontrager
22                                                    Attorney for Plaintiff
23
24
25
26
27
28

                                                -6-

                                                                     COMPLAINT FOR DAMAGES
